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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                         :   CRIMINAL ACTION
                                                 :   NO. 10-334-1
               v.                                :
                                                 :   CIVIL ACTION
ALFREDO SIERRA LANDIS                            :   NO. 20-713


                                           ORDER


       AND NOW, this 26th day of October, 2021, upon review of Defendant’s pending

motions under 28 U.S.C. § 2255 to vacate, set aside or correct sentence, and the government

responses thereto, it is hereby ORDERED as follows:

       1.      Defendant’s Motion to Vacate/Set Aside/Correct Sentence under 28 U.S.C. 2255

(Docket No. 393) is DENIED;

       2. Defendant’s Motion to Vacate/Set Aside/Correct Sentence under 28 U.S.C. 2255

(Docket No. 398) is DENIED; and

       3. There are no grounds to issue a certificate of appealability.



                                                     BY THE COURT:



                                                     /s/ Jeffrey L. Schmehl
                                                     Jeffrey L. Schmehl, J.
